           Case 1:20-vv-01299-UNJ Document 38 Filed 07/27/22 Page 1 of 7




         In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1299V
                                          UNPUBLISHED


    EULA ADENIJI,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: June 22, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus
    HUMAN SERVICES,                                             Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA)


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

       On September 30, 2020, Eula Adeniji filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a tetanus, diphtheria, and acellular pertussis
(“Tdap”) vaccine that was administered to her on December 28, 2018. Petition at 1;
Stipulation, filed on June 9, 2022, at ¶¶ 2, 4. Petitioner further alleges that she received
the vaccine in the United States, that she experienced the residual effects of her injury
for more than six months, and there has been no prior award or settlement of a civil action
for damages as a result of her alleged condition. Petition at 1, 4; Stipulation at ¶¶ 3-5.
“Respondent denies that petitioner sustained a SIRVA Table injury; denies that the
vaccine caused petitioner’s alleged right shoulder injury or any other injury, and denies
that her current condition is a sequela of a vaccine-related injury.” Stipulation at ¶ 6.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-01299-UNJ Document 38 Filed 07/27/22 Page 2 of 7



       Nevertheless, on June 9, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $50,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
Case 1:20-vv-01299-UNJ Document 38 Filed 07/27/22 Page 3 of 7
Case 1:20-vv-01299-UNJ Document 38 Filed 07/27/22 Page 4 of 7
Case 1:20-vv-01299-UNJ Document 38 Filed 07/27/22 Page 5 of 7
Case 1:20-vv-01299-UNJ Document 38 Filed 07/27/22 Page 6 of 7
Case 1:20-vv-01299-UNJ Document 38 Filed 07/27/22 Page 7 of 7
